                          UNITED STATES DISTRICT COURT                           Motion GRANTED.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
v.                                           )         NO. 3:15-00070-5
                                             )         Judge Aleta A. Trauger
FRANCISCO HERNANDEZ-BOX )

MOTION FOR ENTRY OF A CONSENT ORDER OF FORFEITURE CONSISTING OF
A $462,000 UNITED STATES CURRENCY MONEY JUDGMENT AS TO COUNT ONE

       The United States of America, by its undersigned counsel, pursuant to Rule 32.2(b)(1) and

(c)(1) of the Federal Rules of Criminal Procedure, moves based upon the Court’s acceptance of

Defendant Francisco Hernandez-Box’s plea of guilty to Count One of the Third Superseding

Indictment in the above-styled case, for a Consent Order of Forfeiture consisting of $462,000

United States currency Money Judgment.

        A proposed Consent Order of Forfeiture Consisting of a $462,000 Money Judgment which

has been signed by the parties is attached hereto for the Court’s convenience.

                                             Respectfully submitted,

                                             DAVID RIVERA
                                             United States Attorney


                                             By: /s Thomas J. Jaworski
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